                        Case 2:22-cr-02316-AM Document 1 Filed 10/11/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -02418(1)
                                                            §
(1) Abdul Wasi Safi                                         §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about September 30, 2022 in Maverick county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, intentionally and knowingly failed to enter the United States at a

designated border crossing point and did not report said arrival and present himself and all articles in his

possession for inspection, to wit: a misdemeanor



in violation of Title            19            United States Code, Section(s)     1459(a)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On September 30, 2022, the defendant, Abdul Wasi SAFI, a citizen of Afghanistan, was

arrested in Maverick County, Texas, within the Western District of Texas, for failure to report. SAFI was

apprehended by United States Border Patrol Agents shortly after illegally wading across the Rio Grande River

near Eagle Pass, Texas. SAFI had no documents that would allow him to be or remain in the United States

legally. Furthermore, SAFI did not

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,                          /s/ Pena, Luis A
                                                                           Signature of Complainant
                                                                           Pena, Luis A
                                                                           Border Patrol Agent

10/11/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



COLLIS WHITE                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                                 WESTERN DISTRICT OF TEXAS
       UNITED STATES OF AMERICA

                       vs.                               Case Number: DR:22-M -02418(1)

              (1) Abdul Wasi Safi

Continuation of Statement of Facts:

present himself for inspection at a designated border crossing point or port of entry."




______________________________                            /s/ Pena, Luis A
Signature of Judicial Officer                                    Signature of Complainant
